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Maria D Sandoval

Grandview, WA 98930
7/20/2021


Honorable Judge Mendoza


Dear Honorable Judge Mendoza with a heavy broken heart I am writing you this letter for my son’s
Juan Carlos Sandoval G sentencing in hope that you could hear a mother heart and have mercy on
my son Juan Carlos Sandoval.



It has been a year in a half since I have able to hold my son in my arms, not able give a kiss nor
make him favorite food and see his goofy beautiful smile. A whole year and a few months since my
life has been taken away. My son was our whole world he was and is the light of my family. With his
beautiful soul, his kindness and he’s overall personality he brought happiness into not only our life
but so many others. Our life has not been the same since then. Every night when its time sleep, I
stay up making sure that my twos sons I have left at home are okay and sound asleep. Every night I
find myself trapped in repeating the same nightmares of that night when my son was taken,
throwing onto the ground just on his underwear as if he was a slave or an animal. My poor baby
was still half ways asleep, scared and confused. It’s been extremely hard on everyone that got to
know my baby boy, my son Juan C Sandoval. It is a night we are having to wake up to know that he
isn’t here physically, nothing is the same.



I feel like I have failed my son every single day. I ask myself what, when, why is this happening to
my son to my family. I want and wish I could go back and change everything. I wish I could take my
sons place instead of his. He is just a baby boy who is slowly coming a young man mentally. He has a
long bright future life if you give him a second chance I begging of you. Juan unfortunately has been
through so much as well with my family. The separation of my husband and I had taken I big effect
on him mentally perhaps, I blame myself for it all. I have failed my son, my family in so mean ways
your honor but one thing I was and I am so proud of is being a mother to an amazing son. He is a
survivor a fighter, he fought death as an infant with the help of God because God made him for a
big purpose and didn’t allow evil to take him. He survive through so much child tram as much it
hurts to say he witness things children should have had to experience as children. We has parents
need to be careful of what we say and do Infront of them. I wish I could go back and change so
much your honor but I can’t and all I can do is try my best now as a mother and a grandmother. My
only pride is Juan because of who he is and continues to be even through this circumstances he


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continues to become a better human being with an amazing kind heart, and I am not saying because
he is my son but because its truly true and everyone that has crossed pass with him can tell you.

 I hope you have had the chance to meet him personally too and you will instantly see the sweet,
kind and amazing young man he is. He still this day continues to be and become a better person
each and every day. It hurt and still feels so unbelievable that we are all going through this. I know
my son would be capable of hurting someone that isn’t who my son is. We know that he made a
mistake and he didn’t know the consequences because he himself is a little boy that didn’t know
what would come with the mistake made. I am begging you to have mercy on my son, my baby boy.
He is not a monster he is far from it and he doesn’t deserve to spend all his life in person your
honor he has an big purpose and bright life ahead of him. he deserves another chance in life and I
am begging you to please have mercy for my son Juan C Sandoval Guerrero.



Sincerely,




Maria D Sandoval




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July 22, 2021

Martha Parraga

Prosser, WA 99350

To whom it may concern

I, Martha Parraga, have known Juan Carlos Sandoval Guerrero since he was a child. He played
with my children. We have made beautiful memories during our life journey. We have a
beautiful friendship with him and his family. Juan Carlos Sandoval Guerrero has been a great
friend, he is a great young man, and he does not like to be out in the streets. He goes from work
to his house. He made bad decisions in his life. Juan needs a new chance in his life.

Sincerely,

/s/ Martha Parraga

Martha Parraga




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